       Case 20-11135                  Doc 10         Filed 05/22/20 Entered 05/22/20 23:20:47                                    Desc Imaged
                                                    Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1                 Robert Skassa                                                          Social Security number or ITIN    xxx−xx−7415

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Northern District of Illinois
                                                                                                Date case filed for chapter 13 5/19/20
Case number:          20−11135



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   12/17


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Robert Skassa

2. All other names used in the
   last 8 years
                                              2419 Ogden Ave, 9
3. Address                                    Downers Grove, IL 60515
                                              David H Cutler                                                Contact phone 847−673−8600
4. Debtor's  attorney
   Name and address
                                              Cutler & Associates, Ltd.
                                              4131 Main St.
                                                                                                            Email: cutlerfilings@gmail.com

                                              Skokie, IL 60076

5. Bankruptcy trustee                         Tom Vaughn                                                    Contact phone 312 294−5900
     Name and address                         55 E. Monroe Street, Suite 3850
                                              Chicago, IL 60603

6. Bankruptcy clerk's office                                                                                Hours open:
     Documents in this case may be filed      Eastern Division                                              8:30 a.m. until 4:30 p.m. except Saturdays,
     at this address.                         219 S Dearborn                                                Sundays and legal holidays.
     You may inspect all records filed in     7th Floor                                                     Contact phone 1−866−222−8029
     this case at this office or online at    Chicago, IL 60604                                             Date: 5/20/20
      www.pacer.gov.
                                                                                                                  For more information, see page 2




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                                                   Certificate of Notice Page 2 of 4
Debtor Robert Skassa                                                                                                                     Case number 20−11135

7. Meeting of creditors
    Debtors must attend the meeting to     June 15, 2020 at 01:00 PM                                          Location:
    be questioned under oath. In a joint                                                                     Appear by Video Conference., For
    case, both spouses must attend.                                                                          instructions,, visit:
    Creditors may attend, but are not      The meeting may be continued or adjourned to a                    www.tomvaughntrustee.com
    required to do so.                     later date. If so, the date will be on the court
                                           docket.
                                           Debtors must bring a picture ID and proof of
                                           their Social Security Number.
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 8/14/20
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                               not entitled to receive a discharge under
                                               U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                               debt excepted from discharge under
                                               11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 7/28/20
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 11/16/20
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan                          The debtor has filed a plan. The plan is enclosed. The hearing on confirmation will be held on:
                                           7/10/20 at 10:30 AM , Location: 100 S 3rd Street, Courtroom 240, Geneva, IL 60134

                                           The Disclosure of Compensation has been filed. The attorney for the debtor is
                                           requesting fees of $ 4500.00
                                           Objections to confirmation of the Plan shall be filed at least 7 days prior to the confirmation
                                           hearing. If there are no objections, the Court may confirm the plan and allow fees requested
                                           by debtor's counsel to be paid through the plan.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy the plan, if not enclosed, will be sent to you later, and if the
                                           confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                           However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                           are made. A discharge means that creditors may never try to collect the debt from the debtors personally except
                                           as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                           523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                           If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f), you
                                           must file a motion by the deadline.




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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 20-11135-JSB
Robert Skassa                                                                                              Chapter 13
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: ckeith                       Page 1 of 2                          Date Rcvd: May 20, 2020
                                      Form ID: 309I                      Total Noticed: 22


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 22, 2020.
db             +Robert Skassa,   2419 Ogden Ave, 9,    Downers Grove, IL 60515-1742
28854610       +BMO Harris Bank,   Attn: Bankruptcy,    Po Box 2035,    Milwaukee, WI 53201-2035
28854614       +Costco Anywhere Visa Card,    Attn: Bankruptcy,   Po Box 6500,    Sioux Falls, SD 57117-6500
28854619       +Janusz Skassa,   7436 Wimpole Dr,    New Port Richey, FL 34655-4805
28854621       +Marzena Powala,   2419 Ogden Ave, Unit 9,    Downers Grove, IL 60515-1742
28854622      #+O’Flaherty Law,   5002 Main St, Ste 201,    Downers Grove, IL 60515-3659
28854623       +Polish & Slavic Fcu,    140 Greenpoint Ave,   Brooklyn, NY 11222-2202
28854625       +Wells Fargo Dealer Services,    Attn: Bankruptcy,    1100 Corporate Center Drive,
                 Raleigh, NC 27607-5066

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: cutlerfilings@gmail.com May 21 2020 01:38:52       David H Cutler,
                 Cutler & Associates, Ltd.,   4131 Main St.,    Skokie, IL 60076
tr             +E-mail/Text: bncnotice@tomvaughntrustee.com May 21 2020 01:40:19        Tom Vaughn,
                 55 E. Monroe Street, Suite 3850,   Chicago, IL 60603-5764
ust            +E-mail/Text: USTPREGION11.ES.ECF@USDOJ.GOV May 21 2020 01:39:43        Patrick S Layng,
                 Office of the U.S. Trustee, Region 11,    219 S Dearborn St,    Room 873,
                 Chicago, IL 60604-2027
28854608       +EDI: AMEREXPR.COM May 21 2020 05:23:00      American Express,    PO Box 297871,
                 Fort Lauderdale, FL 33329-7871
28854609       +EDI: AMEREXPR.COM May 21 2020 05:23:00      Amex,   Correspondence/Bankruptcy,      Po Box 981540,
                 El Paso, TX 79998-1540
28854613       +EDI: CITICORP.COM May 21 2020 05:23:00      Citibank,    Citicorp Credit Srvs/Centralized Bk dept,
                 Po Box 790034,   St Louis, MO 63179-0034
28854615       +EDI: DISCOVER.COM May 21 2020 05:23:00      Discover Financial,    Attn: Bankruptcy,
                 Po Box 3025,   New Albany, OH 43054-3025
28854616       +E-mail/Text: collector@dupageco.org May 21 2020 01:39:33       Dupage County Collector,
                 P.O. BOX 4203,   Carol Stream, IL 60197-4203
28854617        E-mail/Text: rev.bankruptcy@illinois.gov May 21 2020 01:39:47
                 Illinois Department of Revenue,   Bankruptcy Section,     PO Box 64338,    Chicago, IL 60664-0338
28854618        EDI: IRS.COM May 21 2020 05:23:00      Internal Revenue Service,     PO Box 7346,
                 Philadelphia, PA 19101-7346
28854611        EDI: JPMORGANCHASE May 21 2020 05:23:00      Chase,    PO Box 15298,    Wilmington, DE 19850
28854612        EDI: JPMORGANCHASE May 21 2020 05:23:00      Chase Card Services,     Attn: Bankruptcy,
                 Po Box 15298,   Wilmington, DE 19850
28854620       +E-mail/Text: key_bankruptcy_ebnc@keybank.com May 21 2020 01:40:03        KeyBank USA NA,
                 127 Public Square,   Cleveland, OH 44114-1217
28854624       +E-mail/Text: sdietz@swrecovery.com May 21 2020 01:40:35       Southwest Recovery Service,
                 Attn: Bankruptcy Dept,   17311 Dallas Pkwy #235,     Dallax, TX 75248-1132
                                                                                               TOTAL: 14

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 22, 2020                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
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District/off: 0752-1          User: ckeith                Page 2 of 2                  Date Rcvd: May 20, 2020
                              Form ID: 309I               Total Noticed: 22


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 20, 2020 at the address(es) listed below:
              David H Cutler    on behalf of Debtor 1 Robert Skassa cutlerfilings@gmail.com,
               r48280@notify.bestcase.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              Tom Vaughn     ecf@tvch13.net, ecfchi@gmail.com
                                                                                             TOTAL: 3
